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  14                           UNITED STATES DISTRICT COURT
  15                         CENTRAL DISTRICT OF CALIFORNIA
  16 LLOYD’S MATERIAL SUPPLY                    )      Case No. 2:16-cv-08027-DMG (JPRx)
     COMPANY, INC. a California
  17 corporation; and LLOYD’S
                                                )
                                                )      DEFENDANT’S NOTICE OF
     EQUIPMENT, INC., a California
  18 corporation,,
                                                )      MOTION AND MOTION TO
                                                )      DISMISS PURSUANT TO FEDERAL
  19
                                                )      RULE OF CIVIL PROCEDURE
                                     Plaintiff, )      12(B)(1) & (6), OR ALTERNATIVELY,
  20
                                                )      TO TRANSFER PURSUANT TO 28
                    vs.                         )      U.S.C. § 1404(A)
  21
                                                )
         REGAL BELOIT CORPORATION, a            )      Date: March 3, 2017
  22
         Wisconsin corporation; and DOES 1-25, )       Time: 9:30 a.m.
                                                )
                                   Defendants. )
  23                                            )      Complaint Filed: 10/27/16
                                                )      Judge: Honorable Dolly M. Gee
  24                                            )      United States Courthouse
  25
                                                )      350 West 1st Street
                                                )      Courtroom 8C, 8th Floor
  26
                                                )      Los Angeles, CA 90012
                                                )
  27

  28

           DEFENDANT’S MOTION TO DISMISS, OR ALTERNATIVELY, TO TRANSFER
                                             Case No. 2:16-cv-08027-DMG (JPRx)
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    1                                                NOTICE
    2              TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
    3    ATTORNEYS OF RECORD:
    4              PLEASE TAKE NOTICE that on March 3, 2017, at 9:30 a.m., or as soon
    5    thereafter as this matter may be heard, in Courtroom 8C of the above-entitled Court,
    6    located at 350 West 1st Street, Los Angeles, California 90012, Defendant Regal Beloit
    7    Corporation (“RBC”) will and hereby does move to dismiss all claims for relief described
    8    in the Complaint, or alternatively, to transfer this action to the U.S. District Court for the
    9    District of Columbia.
  10               As a threshold matter, the Complaint is based entirely on alleged violations of a
  11     consent decree with the federal government to which Plaintiffs are not parties. Plaintiffs
  12     therefore lack standing to assert these claims as a matter of law, making the Complaint
  13     subject to dismissal for lack of subject-matter jurisdiction pursuant to Federal Rule of
  14     Civil Procedure 12(b)(1). Dismissal is also warranted pursuant to Federal Rule of Civil
  15     Procedure 12(b)(6) because the allegations of Plaintiffs’ Complaint otherwise fail to state
  16     a claim under either federal or state law. Alternatively, pursuant to 28 U.S.C. § 1404(a),
  17     this action should be transferred to the U.S. District Court for the District of Columbia.
  18     That court not only entered the consent decree upon which Plaintiffs’ Complaint is based
  19     but also retained jurisdiction to interpret and enforce the consent decree’s provisions.
  20               This Motion will be based upon this Notice, the attached Memorandum of Points
  21     and Authorities, the concurrently filed declaration, the concurrently filed Request for
  22     Judicial Notice, and such other argument as may be presented at or before the hearing on
  23     this Motion. This Motion is made following the conference of counsel pursuant to Local
  24     Rule 7-3—which began on January 13, 2017, continued on January 20, 2017, and has
  25     since been the subject of written follow-up communications. [See Lockerby Decl., ¶¶ 2-
  26     3.] During the foregoing exchange, counsel for the parties were not able to reach a
  27     resolution of the issues presented by this Motion. [See id.]
  28     \\

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    1                       MEMORANDUM OF POINTS AND AUTHORITIES
    2                                       I.     INTRODUCTION
    3              This Court has now become the third forum in which Plaintiffs or their affiliates
    4    recently have been or are now embroiled in litigation with RBC. In 2014, the U.S.
    5    District Court for the Western District of Wisconsin entered a $1.15 million judgment for
    6    RBC against two of Plaintiffs’ affiliated companies. [See RJN, Lockerby Decl., ¶ 2, Ex.
    7    A.] That judgment has not yet been paid, so RBC has since brought claims in Los
    8    Angeles County Superior Court to enforce the judgment. [See RJN, Lockerby Decl., ¶ 3,
    9    Ex. B.] Meanwhile, in the Complaint that they recently filed in this Court, Plaintiffs seek
  10     treble damages based on an alleged attempt by RBC to monopolize an alleged market for
  11     electric spa pump motors (“spa motors”). RBC’s agreement to a consent decree with the
  12     United States Department of Justice (“DOJ”) and RBC’s alleged violations of the consent
  13     decree are the sole bases upon which Plaintiffs seek to hold RBC liable under federal
  14     antitrust law and various California causes of action.
  15               The consent decree, according to Plaintiffs, resulted from RBC’s attempt in 2010
  16     to purchase its alleged largest competitor for spa motors. [Compl. ¶ 3.] The DOJ,
  17     however, challenged this proposed merger on antitrust grounds. [Compl. ¶ 4.] To
  18     resolve the DOJ’s challenge, RBC agreed in 2011 to divest its own spa motor business to
  19     a third party, SNTech, Inc. (“SNTech”). [Compl. ¶¶ 4-5.] As part of this divestiture
  20     agreement, RBC stipulated to a consent decree that required RBC to provide transitional
  21     support services to SNTech for a period of time following the divestiture. [Compl. ¶ 6.]
  22     These transitional support services included providing SNTech with technical assistance
  23     and supplying it with raw materials and motor components necessary to manufacture spa
  24     motors. [Id.]
  25               In a typical case, a company is considered to be complying with the antitrust laws
  26     if—in response to an antitrust challenge by the DOJ—the company agrees to divest a
  27     business unit that the DOJ says competes with the business being acquired. But this is
  28     not what Plaintiffs allege. To the contrary, they claim that RBC’s agreement to divest its

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    1   own spa motor business to SNTech as required by the DOJ was actually part of RBC’s
    2   nefarious plan to monopolize the alleged market for spa motors. According to Plaintiffs,
    3   RBC agreed to the divestiture “knowing full well” that it would not honor its
    4   commitments to either the DOJ or the federal court that entered the consent decree.
    5   [Compl. ¶ 69.]
    6              Even if Plaintiffs could prove these allegations, they would not be actionable for at
    7 least four reasons. First and foremost, Plaintiffs lack standing to allege violations of a

    8 consent decree to which they are not parties. Only the DOJ, the other party to the consent

    9 decree, would have standing to assert its alleged violation. On that basis alone, Plaintiffs’

  10 Complaint should be dismissed in its entirety for lack of subject-matter jurisdiction.

  11               Second, Plaintiffs’ lawsuit is not timely. The final consent decree that governed
  12 RBC’s divestiture of its spa motor business was entered on November 1, 2011 [Compl. ¶

  13 6]—some four years, eleven months, and 26 days before the Complaint was filed in this

  14 case. The limitations period for a federal antitrust claim (Count One) is four years. 15

  15 U.S.C. § 15b. Plaintiffs’ claim for unfair business practices in violation of California

  16 Business and Professions Code § 17200 (Count Two) is also subject to a four-year statute

  17 of limitations. Cal. Bus. & Prof. Code § 17208. The limitations period for claims of

  18 tortious and negligent interference under California law (Counts Three and Four) is even

  19 shorter—just two years. Cal. Civ. Proc. Code § 339(1). Accordingly, to the extent that

  20 Plaintiffs’ claims are based on RBC’s alleged conduct before entering into the consent

  21 decree, Plaintiffs’ claims are untimely and should be dismissed. Moreover, Plaintiffs

  22 have not alleged any anticompetitive or tortious conduct after the entry of the consent

  23 decree that falls within the statute of limitations. Accordingly, all of Plaintiffs’ claims are

  24 untimely and should be dismissed.

  25               Third, the deficiencies in the Complaint could not be cured even if Plaintiffs had
  26 alleged or could allege any anticompetitive or tortious conduct on the part of RBC after

  27 entry of the consent decree during the last two (or four) years. The conduct at issue,

  28 according to the Complaint, is limited to RBC’s alleged failures to provide the buyer of

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    1   its spa motor business (SNTech) with adequate technical assistance or raw materials and
    2   components as required by the consent decree. [Compl. ¶ 69.] The insurmountable
    3   hurdle that Plaintiffs face is that, under controlling Supreme Court precedent, these
    4   alleged “failures” are not grounds for an antitrust complaint in the first place. With rare
    5   exceptions not applicable here, the antitrust laws permit businesses to refuse to provide
    6   technical support or to supply raw materials to their competitors. Thus, the Supreme
    7   Court has repeatedly made clear that in situations where a company like RBC is
    8   compelled by law to provide assistance to its rivals, an alleged failure to provide this
    9   assistance does not support a claim for violation of Section 2 of the Sherman Act. See
  10    Verizon Commc’ns. Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407-10,
  11    124 S. Ct. 872, 157 L. Ed. 2d 823 (2004) (“Trinko”).
  12               Fourth, Plaintiffs’ Complaint is—on its face—implausible. The Complaint alleges
  13    that RBC entered into a consent decree with no intention of complying with it and that
  14    RBC has since deliberately violated this consent decree with no repercussions
  15    whatsoever, despite detailed provisions in the consent decree allowing the DOJ to
  16    investigate and the court to punish any violations. These allegations simply defy credible
  17    belief.
  18               In any event, this Court would not be the proper forum to resolve these claims.
  19    Only the court that entered the consent decree—the U.S. District Court for the District of
  20 Columbia—can determine the merits of Plaintiffs’ allegations. The consent decree

  21 specifically provides that the U.S. District Court for the District of Columbia “retains

  22 jurisdiction to enable any party to this Final Judgment to apply to this Court . . . to carry

  23 out or construe this Final Judgment . . . to enforce compliance, and to punish violation of
                           1
  24 its provisions.” Neither one of Plaintiffs is a “party to this Final Judgment.” And the

  25
                   1
  26          [RJN, Lockerby Decl., ¶ 4, Ex. C at 20 (emphasis added).] This Court may take
  27
     judicial notice of the consent decree without converting the pending motion into a motion
     for summary judgment because the consent decree is a readily verifiable court filing and
  28 was referenced extensively in the Complaint. [See Compl. ¶¶ 6, 45-50]; see generally
     Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006); Van
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    1   court that retained jurisdiction “to carry out or construe this Final Judgment . . . to
    2   enforce compliance, and to punish violation of its provisions” is not the U.S. District
    3   Court for the Central District of California. Therefore, if this Court declines to dismiss
    4   Plaintiffs’ Complaint outright, it should transfer the case to the U.S. District Court for the
    5   District of Columbia. That court is best situated to determine whether RBC has complied
    6   with the consent decree. In fact, it has specifically retained jurisdiction to do so.
    7                                 II.    FACTUAL ALLEGATIONS
    8              The Complaint alleges the following facts, which Federal Rule of Civil Procedure
    9   12(b)(6) requires be accepted as true for purposes of RBC’s motion to dismiss. On
  10    December 12, 2010, RBC agreed to acquire the electric motors business of A.O. Smith
  11    Corporation (“AOS”), a business that included the manufacture of spa motors. [Compl.
  12    ¶¶ 2-3, 38.] Some eight months after this deal was announced—but before the merger
  13    had closed—the DOJ sued RBC, alleging that a combination of AOS’s spa motors
  14    business with RBC’s existing spa motors business would violate the antitrust laws.
  15    [Compl. ¶¶ 4, 41-44.] RBC agreed to resolve the DOJ’s lawsuit by divesting its own spa
  16    motors business to a third party, SNTech. [Compl. ¶¶ 5, 45-50.]
  17               On November 1, 2011, the U.S. District Court for the District of Columbia entered
  18    a final consent decree that governed RBC’s divestiture agreement with the DOJ. [Compl.
  19    ¶ 6.] As part of this consent decree, RBC was ordered to enter into three ancillary
  20    agreements with SNTech—a “transition services agreement” and two separate “supply
  21    agreements.” Plaintiffs allege that these agreements required RBC to provide SNTech
  22    with certain technical, engineering, and materials-related support for a period of up to a
  23    year following the entry of the consent decree. [Compl. ¶¶ 6, 50.]
  24               Plaintiffs allege that RBC failed to honor its commitments under the consent
  25    decree. According to the Complaint, RBC “provid[ed] faulty raw materials and
  26    components to SNTech, and fail[ed] to provide the technical and engineering assistance
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  28
        Buskirk v. CNN, 284 F.3d 977, 980 (9th Cir. 2002).
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    1   needed to ensure that SNTech could develop, manufacture, and sell the former RBC spa
    2   motors.” [Compl. ¶ 7; see also id. ¶¶ 55-57.]
    3              Following the divestiture, SNTech failed to sustain the divested spa motor
    4 business. Plaintiffs allege that SNTech’s spa motors “failed with such a high regularity

    5 and were available in such limited quantities that consumers such as Plaintiffs . . . were

    6 left with no choice but to stop purchasing SNTech motors.” [Compl. ¶ 59.] Plaintiffs

    7 also allege that whenever plaintiff Lloyd’s Equipment, Inc. asked SNTech what was

    8 causing these problems, “SNTech would reply that the source of the problems was RBC.”

    9 [Compl. ¶ 58.]

  10               The “injury” alleged by Plaintiffs is that one of them, Lloyd’s Equipment, Inc.
  11 (“LE”), became unable to supply spa pumps (a product that includes spa motors) to the

  12 other plaintiff. That other plaintiff, Lloyd’s Material Supply Company, Inc. (“LMS”),

  13 alleges that it therefore was forced to purchase spa motors from alternate vendors at a

  14 higher price than it was used to paying. [Compl. ¶ 9.] Neither plaintiff alleges that it has

  15 ever purchased any products directly from RBC. [Compl. ¶¶ 8, 9.]

  16               Several years later, in December 2014, SNTech declared bankruptcy. [Compl. ¶¶
  17 7, 60.] SNTech no longer manufactures spa motors. [Compl. ¶ 60.] Plaintiffs do not

  18 allege that RBC caused SNTech to become insolvent or to exit the spa motors market.

  19                                      III.   LEGAL STANDARD
  20               Under Federal Rule of Civil Procedure 12(b)(1), the Complaint should be
  21    dismissed for lack of subject-matter jurisdiction if Plaintiffs lack standing to obtain the
  22    relief requested. See White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000); EMI Limited v.
  23    Bennett, 738 F.2d 994, 996 (9th Cir. 1984). Standing is a constitutional principle that
  24    requires “a plaintiff to have a personal stake in the outcome of a case to warrant his
  25    invocation of federal-court jurisdiction and to justify exercise of the court’s remedial
  26    powers on his behalf.” EMI, 738 F.2d at 996 (quotation and emphasis omitted). Because
  27    RBC has asserted a facial challenge to subject-matter jurisdiction, the Court assumes that
  28    the allegations in the Complaint are true and considers whether the allegations are

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    1   sufficient on their face to confer standing on Plaintiffs. See Safe Air for Everyone v.
    2   Meyer, 373 F.3d 1035, 1039 (9th Cir. 2003).
    3              Under Federal Rule of Civil Procedure 12(b)(6), Plaintiffs’ Complaint should be
    4   dismissed if its factual allegations, together with all reasonable inferences taken
    5   therefrom, do not state a plausible claim for relief. See Cafasso v. General Dynamics C4
    6   Systems, Inc., 637 F.3d 1047, 1054 (9th Cir. 2011). The Court need not “accept as true
    7 unreasonable inferences or conclusory legal allegations cast in the form of factual

    8 allegations,” and dismissal is proper where a complaint lacks a “cognizable legal theory.”

    9 UMG Recordings, Inc. v. Global Eagle Ent., Inc., 117 F. Supp. 3d 1092, 1102 (C.D. Cal.

  10 2015). Additionally, the Court “should not accept threadbare recitals of a cause of

  11 action’s elements, supported by mere conclusory statements.” Conder v. Home Savings

  12 of America, 680 F. Supp. 2d 1168, 1172 (C.D. Cal. 2010) (citing Ashcroft v. Iqbal, 556

  13    U.S. 662, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009)). The grounds on which dismissal
  14    under Federal Rule of Civil Procedure 12(b)(6) is proper include where the allegations in
  15    the complaint show that the statute of limitations has expired. See Jablon v. Dean Witter
  16    & Co., 614 F.2d 677, 682 (9th Cir. 1980).
  17               Additionally, under 28 U.S.C. § 1404(a), the Court may transfer this case to
  18    another district court if doing so would serve the convenience of parties and witnesses
  19    and otherwise promote the interests of injustice. 28 U.S.C. § 1404(a); see generally
  20    Atlantic Marine Constr. Co., Inc. v. U.S. Dist. Court for the Western Dist. of Tex., __
  21    U.S. __, 134 S. Ct. 568, 581 & n.6, 187 L. Ed. 2d 487 (2013).
  22                                          IV.    ARGUMENT
  23               A.    As a Matter of Law, Plaintiffs Lack Standing to Enforce the
  24                     Consent Decree Upon Which All of Their Claims Are Based.

  25               Without addressing the merits of the Complaint, this Court can and should dismiss
  26 Plaintiffs’ antitrust claims for lack of standing alone. “[A] private party cannot premise a

  27 treble damage action under [the antitrust laws] upon violations of a government consent

  28 decree.” Rafferty v. NYNEX Corp., 744 F. Supp. 324, 328 (D.D.C. 1990), aff’d in

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    1   relevant part, 60 F.3d 844, 849 (D.C. Cir. 1995) (collecting cases). In this case, the
    2 consent decree that Plaintiffs claim RBC violated says nothing about being enforced by

    3   private parties. To the contrary, it provides for enforcement only by “any party to this
    4   Final Judgment”—i.e., only by the DOJ and RBC (or possibly AOS). [RJN, Lockerby
    5   Decl., ¶ 4, Ex. C at 20.] Thus, even if the consent decree implicitly serves the purpose of
    6   benefitting private parties like Plaintiffs, they do not have standing to enforce it. This has
    7   been well settled law for more than 40 years. See Blue Chip Stamps v. Manor Drug
    8   Stores, 421 U.S. 723, 750, 95 S. Ct. 1917, 44 L. Ed. 2d 539 (1975) (“[A] consent decree
    9   is not enforceable directly or in collateral proceedings by those who are not parties to it
  10    even though they were intended to be benefited by it.”).
  11               Even before the Supreme Court decided Blue Chip Stamps, the Ninth Circuit held
  12    that a federal court cannot reach the merits of an antitrust case that is based upon a
  13    defendant’s alleged failure to comply with a DOJ consent decree. In Dahl, Inc. v. Roy
  14    Cooper Co., 448 F.2d 17 (9th Cir. 1971), the Ninth Circuit addressed the legal
  15    sufficiency of allegations by the plaintiff, a movie theatre operator, that the defendants
  16    had violated the antitrust laws by failing to comply with a consent decree that certain of
  17    the defendants had entered into with the DOJ concerning how films would be offered to
  18    theater operators. With little hesitation, the Ninth Circuit held that it “need not reach the
  19    merits of this contention” because “[o]nly the Government can seek enforcement of its
  20    consent decrees.” Id. at 20. This controlling authority warrants dismissal of Plaintiffs’
  21 Complaint for lack of standing. Plaintiffs’ lack of standing to assert their federal antitrust

  22 claims also bars them from pursuing their state-law claims in this Court. See generally

  23 Cantrell v. City of Long Beach, 241 F.3d 674, 683 (9th Cir. 2001) (“A party seeking to

  24 commence suit in federal court must meet the stricter federal standing requirements of

  25 Article III.”).

  26               Even if Plaintiffs had standing to enforce the consent decree, their Complaint
  27 otherwise fails to state a claim under any of the legal theories that they have asserted, as

  28 discussed in the sections that follow. Moreover, this Court is not the proper forum in

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    1   which to resolve Plaintiffs’ claim that RBC has violated the consent decree. The U.S.
    2   District Court for the District of Columbia specifically retained jurisdiction through the
    3   year 2021 to enforce the consent decree and punish any alleged violations. Transfer
    4   pursuant to 28 U.S.C. § 1404(a) would therefore be warranted even if Plaintiffs had
    5   standing and even if the Complaint stated any viable cause of action.
    6
                   B.    The Complaint Does Not Allege Any Predatory or Tortious Conduct
    7                    By RBC That Occurred During the Applicable Limitations Periods.
    8                    1.    The applicable limitations periods are four years for Counts
    9                          One and Two, and two years for Counts Three and Four.

  10               The Complaint asserts four Counts against RBC. Count One alleges that RBC
  11    attempted to monopolize a market for spa motors in violation of Section 2 of the Sherman
  12    Act. [Compl. ¶¶ 65-76.] Count Two alleges that RBC engaged in “unfair” business
  13    practices in violation of California Business and Professions Code § 17200. [Compl. ¶¶
  14    77-80.] Count Three alleges that RBC tortiously interfered with Plaintiffs’ prospective
  15    economic relationship with each other. [Compl. ¶¶ 81-88.] And Count Four alleges that
  16    RBC negligently interfered with Plaintiffs’ prospective economic relationship with each
  17    other. [Compl. ¶¶ 89-96.] For these claims to be timely, RBC must have taken or caused
  18    some action2 to harm Plaintiffs within the applicable limitations period.
  19               For Counts One and Two, the applicable limitations period is four years. 15
  20    U.S.C. § 15b; Cal. Bus. & Prof. Code § 17208. For Counts Three and Four, the
  21

  22               2
                  See Rebel Oil Co., v. Atlantic Richfield Co., 51 F.3d 1421, 1433 (9th Cir. 1995)
  23    (attempted monopolization requires “predatory or anticompetitive conduct” directed
  24    toward the destruction of competition); Express, LLC v. Fetish Group, Inc., 464 F. Supp.
        2d 965, 980 (C.D. Cal. 2006) (an unfair practice under § 17200 requires “any practice
  25    whose harm to the victim outweighs its benefits”) (quotation omitted); Joint Stock Co. v.
  26    Riviera Travel & Tours, Inc., No. CV 11-8362-BRO (AJWx), 2014 U.S. Dist. LEXIS
        87318, at *47 (C.D. Cal. June 25, 2014) (intentional interference requires “intentional
  27    acts . . . designed to disrupt the [economic] relationship); Ryoo Dental, Inc. v. Han, No.
  28    SACV 15-308-JLS (RNBx), 2015 U.S. Dist. LEXIS 90085, at *7 (C.D. Cal. July 9, 2015)
        (negligent interference requires “the defendant’s negligence”).
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    1   applicable limitations period is two years. Cal. Code Civ. Proc. § 339(1).
    2                     2.    The Complaint alleges no actionable conduct by RBC that is
                                within either the two-year or the four-year limitations periods.
    3

    4              The harm of which Plaintiffs complain was allegedly caused by RBC’s alleged
    5   failure to fulfill its obligations under the consent decree that resolved the DOJ’s antitrust
    6   challenge to RBC’s acquisition of AOS’s electric motor business. Specifically, the
    7   Complaint alleges that RBC did the following five things:
    8              1. On December 12, 2010, RBC agreed to acquire AOS’s electric motor business,
    9                  which included AOS’s spa motor business. [Compl. ¶¶ 5, 38.]
  10               2. On or before November 1, 2011, RBC agreed to a consent decree with the DOJ
  11                   that required RBC to divest its spa motors business and provide transitional
  12                   support to SNTech. [Compl. ¶¶ 5-6, 45-50.]
  13               3. After November 1, 2011, RBC closed on its acquisition of AOS’s electric motor
  14                   business. [Compl. ¶ 51.]3
  15               4. Within ten days of November 1, 2011, RBC sold its preexisting spa motors
  16                   business to SNTech. [Compl. ¶ 50.]4
  17

  18               3
                Although it is not necessary to do so, the Court can take judicial notice that this
  19    allegation is incorrect. See Dreiling v. Am. Express Co., 458 F.3d 942, 946 n.2 (9th Cir.
  20    2006) (SEC filings are subject to judicial notice on a motion to dismiss). In fact, RBC
        closed on its acquisition of AOS’s electric motor business several months earlier, on
  21    August 22, 2011, while the consent decree was being formalized. [See RJN, Lockerby
  22    Decl., ¶ 5, Ex. D.]
                   4
                Similarly, the Court can take judicial notice that this divesture actually took place
  23
        several months before November 1, 2011. The Final Judgment provides that “RBC is
  24    ordered and directed, within ten calendar days after the Court signs the Hold Separate
  25
        Stipulation and Order in this matter, to divest the [spa motors business] Assets.” [RJN,
        Lockerby Decl., ¶ 4, Ex. C at 7.] This “Hold Separate Stipulation and Order” was
  26    actually signed by the Court on August 19, 2011. [See RJN, Lockerby Decl., ¶ 6, Ex. E.]
  27
        Taking judicial notice of the Hold Separate Stipulation and Order is appropriate without
        converting the present motion to a motion for summary judgment because this Order is a
  28    readily verifiable court filing, and because it is referenced extensively in the Final
        Judgment that is cited throughout the Complaint.
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    1              5. Following the divestiture, RBC allegedly “supplied SNTech with faulty and
    2                 non-operational raw materials and components” and “failed to provide SNTech
    3                 with the technical and engineering assistance” required under the consent
    4                 decree. [Compl. ¶¶ 56-57.] Plaintiffs do not allege when these actions
    5                 supposedly took place, but they do allege that the transitions services and
    6                 supply agreements were to last up to a year after entry of the consent decree.
    7                 [Compl. ¶ 50.]
    8   Of these five actions, none took place within two years of the October 27, 2016 filing of
    9   the Complaint. Therefore, Counts Three and Four should be dismissed in their entirety.
  10               Nor do Plaintiffs allege that any of these five actions took place on or after October
  11    27, 2012—that is, within four years of the filing of the Complaint. Accordingly, Counts
  12    One and Two should be dismissed as well. See, e.g., Complete Ent. Res. LLC v. Live
  13    Nation Enter., Inc., No. CV 15-9814 DSF (AGRx), 2016 U.S. Dist. LEXIS 86414, at *3
  14    (C.D. Cal. May 11, 2016) (“It cannot be the case that if a merger leads to monopoly
  15    power then anything anticompetitive that the newfound monopolist does is a ‘continuing
  16    violation’ that began with the merger, allowing the merger to be challenged indefinitely
  17    under section 2 of the Sherman Act. If that were true, the statute of limitations . . . would
  18    be written out of the law.”).
  19               Although Plaintiffs do not allege that RBC did anything within the applicable
  20    limitations periods, drawing all possible inferences in Plaintiffs’ favor, there is at most
  21    only one alleged action—the alleged failure to supply SNTech with adequate materials
  22    and assistance for “up to a year” after November 1, 2011—that conceivably took place
  23    within four years of the filing of the Complaint. According to the Complaint, the
  24    transitions services and supply agreements between RBC and SNTech lasted “up to a
  25    year” after November 1, 2011—i.e., until November 1, 2012. The Complaint does not
  26    specifically allege that RBC failed to provide materials or support to SNTech as required
  27    under the DOJ consent decree during the five-day period at the tail end of the supply and
  28    transitions agreements that was within four years of the filing of the Complaint (i.e., from

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    1   October 27 through November 1, 2012).5 Even if Plaintiffs had made or could make such
    2 a claim to get within the statute of limitations, however, Counts One and Two would still

    3 be subject to dismissal. Well-established Supreme Court precedent holds that RBC’s

    4 alleged failure to supply or support SNTech is not grounds for a federal antitrust claim or,

    5 by the same token, for a claim under California Business and Professions Code § 17200.

    6
                         3.    As a matter of law, RBC’s alleged failure to supply or support
    7                          SNTech does not state a claim for attempted monopolization.
    8              In its 2004 decision in Trinko, the U.S. Supreme Court rejected the theory on
    9   which Plaintiffs’ claims for violation of Sherman Act Section 2 are based, i.e., that a
  10    failure to comply with a legal requirement to aid one’s competitors can give rise to
  11    antitrust liability. The case involved a local telephone carrier. Until 1996, there was
  12    typically only one local telephone carrier operating in any given region. These local
  13    carriers had lawful monopolies over the provision of local telephone service in their
  14    respective service areas. In 1996, however, Congress decided to change the law to
  15    promote competition for local telephone service. Thus, the Telecommunications Act of
  16    1996 required so-called “incumbent” local carriers to share their networks with their
  17    competitors. Among other things, these incumbent carriers became required to let so-
  18    called “competitive” local carriers place service orders to obtain the same access to end-
  19    users that the incumbent carriers have. This obligation is reflected not only in federal
  20    statutes but also in an array of federal and state regulatory approvals as well as in private
  21    agreements between the incumbent and competitive carriers. See generally 540 U.S. at
  22

  23               5
                 The Complaint also does not allege that Plaintiffs were specifically injured by
  24    any supposed failure of RBC to provide materials or support to SNTech during this five-
        day tail end period. Plaintiffs would need to make such a showing for their claims to be
  25    timely. Moreover, the transition service and supply agreement obligations referenced in
  26    the Complaint actually arose months before the November 1, 2011 entry of the consent
        decree, since the Hold Separate Stipulation and Order required RBC to “abide by and
  27    comply with the provisions of the proposed Final Judgment . . . from the date of the
  28    signing of this Hold Separate Stipulation and Order by the parties,” which occurred on
        August 17, 2011. [See RJN, Lockerby Decl., ¶ 6, Ex. E at 7, 11.]
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    1   402-03.
    2              In 1999, one incumbent carrier, Verizon, stopped fulfilling its competitors’ service
    3 orders in violation of federal and state telecommunications law, allegedly as part of an

    4 effort to monopolize the market for local telephone service. A customer of one of the

    5 competiting carriers sued Verizon, alleging that Verizon’s failure to abide by federal

    6 network-sharing requirements constituted predatory, anticompetitive conduct under

    7 Section 2 of the Sherman Act (id. at 404-05)—the same statute under which Plaintiffs

    8 bring Count One. See generally Rebel Oil Co. v. Atlantic Richfield Co., 51 F. 3d 1421,

    9 1433 (9th Cir. 1995) (a claim for attempted monopolization under Section 2 of the

  10 Sherman Act requires “predatory or anticompetitive conduct”).

  11               The Supreme Court rejected the plaintiff’s claims in Trinko. The Court took for
  12 granted that Verizon had violated a host of federal obligations requiring it to support rival

  13 telecommunications carriers. “That Congress created these duties, however, does not

  14 automatically lead to the conclusion that they can be enforced by means of an antitrust

  15 claim.” Trinko, 540 U.S. at 406. To the contrary, the Court affirmed a longstanding

  16 principle of antitrust law that, as a general matter, businesses do not have any antitrust

  17 duty to aid their competitors. Id. at 411; see also id. at 408 (“[T]he Sherman Act ‘does

  18 not restrict the long recognized right of a trader or manufacturer . . . freely to exercise his

  19 own independent discretion as to parties with whom he will deal.’”) (quoting United

  20 States v. Colgate & Co., 250 U.S. 300, 307, 39 S. Ct. 465, 63 L. Ed. 992 (1919)

  21 (alteration omitted)). As the Court recognized in Trinko, Verizon may well have been

  22 violating a duty to aid its business rivals under the Telecommunications Act, orders of the

  23 FCC and state public utility commissions, and its private agreements with other carriers.

  24 Nevertheless, Verizon’s decision not to aid its business rivals was not an antitrust

  25 violation because, for purposes of Section 2 of the Sherman Act, a company generally has

  26 no duty to aid its rivals.

  27               Trinko controls the outcome here. Under Trinko, a party does not violate Section 2
  28 of the Sherman Act by violating a law, order, or agreement that requires it to cooperate

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    1   with its competitors. Naturally, there will often be other consequences for violating a
    2   law, order, or agreement,6 but Trinko holds that liability under the Sherman Act is not
    3 among these possible consequences. Thus, even if it were true that RBC failed to supply

    4 materials and provide technical support to SNTech in violation of a federal court order,

    5 these alleged failures would not, as a matter of law, constitute a violation of the Sherman

    6 Act.

    7              If there could be any question whether Trinko controls, the Supreme Court
    8 answered it five years later with a case even more directly on point to the facts here,

    9 Pacific Bell Telephone Co. v. Linkline Commc’ns, Inc., 555 U.S. 438, 129 S. Ct. 1109,

  10 172 L. Ed. 2d 836 (2009). The Pacific Bell litigation resulted from temporary regulations

  11    that the FCC had adopted as part of an effort to promote competition for Internet services.
  12    These regulations required incumbent telecommunications carriers to provide wholesale
  13    transmission services to independent Internet providers. The FCC later abandoned these
  14    regulations. As a condition for a subsequent merger, however, AT&T entered into an
  15 administrative consent agreement with the FCC whereby AT&T agreed to continue

  16 providing wholesale transmission services to independent Internet providers as if the old

  17 FCC regulations still remained in place. In the meantime, a group of competing Internet

  18 providers became unhappy with the price of AT&T’s wholesale transmission services

  19 and brought suit under Section 2 of the Sherman Act—the same statute on which Count

  20 One of Plaintiffs’ Complaint is based—alleging that AT&T was setting prices too high in

  21 an effort to monopolize the provision of Internet services. Id. at 443. As in Trinko, the

  22 Supreme Court rejected the plaintiffs’ claim in Pacific Bell:

  23
                         A straightforward application of our recent decision in Trinko
  24                     forecloses any challenge to AT&T’s wholesale prices . . . In
                         this case, as in Trinko, the defendant has no antitrust duty to
  25
                         deal with its rivals at wholesale; any such duty arises only
  26

  27               6
             Here, for example, a possible consequence for any breach by RBC of its
  28 obligations under the consent decree would have included an enforcement action by the
     DOJ in the court that entered the consent decree.
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    1                    from FCC regulations, not from the Sherman Act.
    2
        Id. at 449-50 (emphasis altered); see also id. at 457 (“Trinko holds that a defendant with
    3
        no antitrust duty to deal with its rivals has no duty to deal under the terms and conditions
    4
        preferred by those rivals.”); accord North Star Gas Co. v. PG&E, No. 15-cv-02575-HSG,
    5
        2016 U.S. Dist. LEXIS 131684, at *78-*82 (N.D. Cal. Sept. 26, 2016) (a gas company’s
    6
        alleged failure to provide transport services as required by contract and state regulations
    7
        did not support a claim under Section 2 of the Sherman Act); Perinatal Med. Group, Inc.
    8
        v. Children’s Hosp. Cent. Cal., No. CV F 09-1273 LJO GSA, 2010 U.S. Dist. LEXIS
    9
        36694, at *23 (E.D. Cal. Apr. 14, 2010) (“[A] duty to deal arising from state law does not
  10
        establish a duty to deal for antitrust purposes”).
  11
                   Under the principles of Trinko and Pacific Bell, Count One of the Complaint
  12
        should be dismissed. Like AT&T in Pacific Bell, RBC entered into a consent decree as a
  13
        prerequisite to consummating a merger. The consent decree at issue in this case required
  14
        RBC to provide limited support to one of its competitors. Under the regulations and
  15
        consent decree at issue in Pacific Bell, AT&T’s competitors were not satisfied with
  16
        AT&T’s support. The Supreme Court held, however, that the competitors had not stated
  17
        a valid antitrust claim. The same reasoning applies here. Simply put, even if a federal
  18
        law or order requires a company to provide some support to its competitors in an effort to
  19
        promote competition, that company’s failure to provide such support does not state a
  20
        claim under Section 2 of the Sherman Act as a matter of law. See generally Aerotec Int’l,
  21
        Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1184 (9th Cir. 2016) (“Competitors are not
  22
        required to engage in a lovefest; indeed, even an act of pure malice by one business
  23
        competitor against another does not, without more, state a claim under the federal
  24
        antitrust laws.”) (quotation omitted). In short, Plaintiffs have not stated a valid antitrust
  25
        claim.
  26
                         4.    The Aspen Skiing exception to the holdings of Trinko
  27                           and Pacific Bell does not apply to Plaintiffs’ allegations.
  28               Trinko does recognize a narrow exception to the general proposition that a
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    1   company has no antitrust duty to deal with its rivals. This narrow exception does not
    2   apply here. The exception comes from the Supreme Court’s decision in Aspen Skiing Co.
    3   v. Aspen Highlands Skiing Corp., 472 U.S. 585, 105 S. Ct. 2847, 86 L. Ed. 2d 467
    4   (1985). In that case, Aspen Highlands Skiing Corporation and Aspen Skiing Company,
    5   two competing ski resorts, had for years offered a joint ski lift ticket so that customers
    6   could use either resort with the same ticket. Aspen Skiing, 472 U.S. at 589-91. Aspen
    7   Skiing, the larger of the two resorts, terminated this arrangement after Aspen Highlands
    8   refused to accept a new revenue-splitting proposal based on a lower percentage of the
    9   ticket revenue. Id. at 591-94.
  10               Aspen Highlands sued Aspen Skiing, alleging that Aspen Skiing had monopolized
  11    the market for skiing in Aspen, Colorado in violation of Section 2 of the Sherman Act.
  12    The jury returned a verdict in favor of Aspen Highlands. Following an appeal, Aspen
  13    Skiing ultimately obtained review by the Supreme Court. Id. at 595. The Supreme Court
  14    affirmed the jury’s verdict, finding sufficient evidence to support the conclusion that
  15    Aspen Skiing had violated Section 2 of the Sherman Act by refusing to continue in the
  16    joint-ticketing arrangement with Aspen Highlands. Id. at 611. Critical to the Court’s
  17    decision was the fact that Aspen Skiing made “an important change in a pattern of
  18    distribution that had originated in a competitive market and had persisted for several
  19    years.” Id. at 603 (emphasis added).
  20               In Trinko, the Supreme Court took pains to clarify that “Aspen Skiing is at or near
  21 the outer boundary of § 2 liability.” Trinko, 540 U.S. at 409. The Supreme Court

  22 stressed that Aspen Skiing turned on the fact that Aspen Skiing had unilaterally

  23 terminated a “voluntary (and thus presumably profitable) course of dealing” under

  24 circumstances that “suggested a willingness to forsake short-term profits to achieve an

  25 anticompetitive end.” Trinko, 540 U.S. at 409 (emphasis altered). Thus, the Court

  26 explained, a Sherman Act claim could not be maintained if “[t]he complaint does not

  27 allege that [the defendant] voluntarily engaged in a course of dealing with its rivals, or

  28 would ever have done so absent statutory compulsion.” Id.; see also MetroNet Servs.

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    1   Corp. v. Qwest Corp., 383 F.3d 1124, 1132-33 (9th Cir. 2004) (an antitrust duty to deal
    2   with one’s competitors can be found only where a defendant terminates a voluntary
    3   course of dealing, refuses to deal with competitors on retail terms, or refuses to deal with
    4   competitors on the same terms as other customers).
    5              Here, the Complaint makes no allegation that RBC would ever have voluntarily
    6   supported or supplied SNTech without a DOJ consent decree requiring RBC to do so.
    7   The Complaint does not allege that RBC’s obligatory dealing with SNTech was in any
    8   way profitable for RBC. Nor does the Complaint allege that RBC has ever voluntarily
    9   agreed to support or supply other competitors on similar terms in the past. Indeed, any
  10    such allegation or inference would be implausible on its face, since it ordinarily is not the
  11    business of companies to voluntarily support their own competitors. This case thus does
  12    not fall in the narrow Aspen Skiing exception to the general rule that businesses have no
  13    antitrust duty to deal with their rivals. Accordingly, RBC had no antitrust duty to supply
  14    or support SNTech, such that RBC’s alleged failure to do so does not state a claim under
  15    Section 2 of the Sherman Act.
  16                     5.     RBC’s alleged failure to support and supply SNTech was not an
                                “unfair” business practice under Cal. Bus. & Prof. Code § 17200.
  17

  18               Because RBC’s alleged failure to support and supply SNTech does not state a
  19    claim under Section 2 of the Sherman Act, it is also not actionable as an “unfair” business
  20 practice under California Business and Professions Code § 17200. To be deemed

  21 “unfair” within the meaning of Cal. Bus. & Prof. Code § 17200, a business practice must

  22 “threaten[ ] an incipient violation of an antitrust law, or violate[ ] the policy or spirit of

  23 one of those laws . . . or otherwise significantly threaten[ ] or harm[ ] competition.” Cel-

  24 Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 187 (1999).

  25               Here, Plaintiffs’ unfair business practices claim is based on the exact same facts
  26 and theories as Plaintiffs’ Sherman Act claim. [See Compl. ¶¶ 77-80.] As the Ninth

  27 Circuit has made clear, “[w]here . . . the same conduct is alleged to support both a

  28 plaintiff’s federal antitrust claims and state-law unfair competition claim, a finding that

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    1   the conduct is not an antitrust violation precludes a finding of unfair competition.”
    2   LiveUniverse, Inc. v. MySpace, Inc., 304 Fed. App’x 554, 557 (9th Cir. 2008); see also
    3   Apple iPod iTunes Antitrust Litig., 796 F. Supp. 2d 1137, 1147 (N.D. Cal. 2011) (“Under
    4   California law, if the same conduct is alleged to be both an antitrust violation and an
    5   ‘unfair’ business act or practice for the same reason, then the determination that the
    6   conduct is not an unreasonable restraint of trade necessarily implies that the conduct is
    7   not ‘unfair’ toward consumers.”) (quotation omitted). Because RBC’s alleged failure to
    8   support and supply SNTech does not state an antitrust claim under Trinko and its
    9   progeny, RBC’s alleged failure to support and supply SNTech also does not state a claim
  10    for an “unfair” business practice under California Business and Professions Code §
  11    17200. Accordingly, Plaintiffs’ Count Two should be dismissed.
  12
                         6.     Public policy warrants interpreting the Sherman Act
  13                            as not imposing an antitrust duty to aid competitors.
  14               Besides being controlling, Trinko rests on important and well-reasoned
  15    considerations of antitrust policy. As the Supreme Court explained, forcing one company
  16    to support its competitors may actually have the perverse result of “facilitat[ing] the
  17    supreme evil of antitrust: collusion.” Trinko, 540 U.S. at 408. This is because forcing
  18 two competitors to work together aligns their incentives and creates opportunities for

  19 improper coordination and information-sharing which, ironically, might be an even worse

  20 result for competition than leaving a new competitor to fend for itself. Forcing one

  21 company to aid its competitors may also lessen the incentive of new competitors to make

  22 beneficial investments in their own facilities. Id. Therefore, Trinko’s holding reflects the

  23 Supreme Court’s reasoned conclusion that competition is best achieved by keeping

  24 companies competing on their own, and not by using the Sherman Act as a backdoor to

  25 enforce other federal cooperation requirements.

  26               In this respect, it is worth noting that the DOJ’s own policies relating to merger
  27 remedies underscore the Trinko Court’s concerns about the dangers of forced

  28 cooperation. The DOJ’s Policy Guide to Merger Remedies stresses that supply and

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    1   support agreements entered into in connection with divestitures—like the agreements that
    2   RBC was directed to enter into with SNTech—need to be narrowly tailored to avoid
    3   unnecessarily entangling the competing firms. See U.S. Dep’t of Justice, Antitrust
    4   Division Policy Guide to Merger Remedies (June 2011), at 19 n.41, available at
    5   https://www.justice.gov/sites/default/files/atr/legacy/2011/06/17/272350.pdf (“[C]lose
    6   and persistent ties between two or more competitors (as created by such agreements) can
    7   serve to enhance the flow of information or align incentives that may facilitate collusion
    8   or cause the loss of a competitive advantage. Therefore, supply agreements in Division
    9 decrees generally will be short-term and used as a transitional mechanism until the

  10 purchaser is able to secure another source of supply.”).

  11               Here, therefore, policy considerations counsel against lightly inferring that RBC
  12 was under an antitrust duty to aid SNTech. Such a finding would actually have the

  13 perverse effect of undermining DOJ enforcement efforts by pushing companies to work

  14 too closely together to effect divestitures, contrary to the informed judgment of both the

  15 Supreme Court and the DOJ’s Antitrust Division.

  16
                   C.    Plaintiffs’ Allegations that RBC Deliberately Violated the
  17                     Consent Decree Without Repercussions Are Implausible.
  18               Plaintiffs’ theory of relief is implausible on its face. If the Complaint is to be
  19    believed, RBC negotiated a consent decree with the DOJ with the deliberate intent of
  20    violating the consent decree immediately after it went into effect. [See Compl. ¶ 7
  21    (“Rather than abide by the spirit and the letter of its agreement with DOJ and the court’s
  22    final judgment, RBC engaged in deceptive and anticompetitive behavior by ensuring that
  23    its divestiture of spa pump motor assets to SNTech would fail . . . .”).] These allegations
  24    lack the specific detail required to be plausible under Bell Atlantic Co. v. Twombly, 550
  25    U.S. 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). They are also insufficiently
  26    detailed to satisfy the heightened pleading requirement of Federal Rule of Civil
  27    Procedure 9(b). See generally Kearns v. Ford Motor Co., 567 F.3d 1120, 1124-25 (9th
  28    Cir. 2009). This Court should not accept the unsupported allegation that a publicly traded
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    1   company would fraudulently negotiate a consent decree with the DOJ with the intent of
    2 immediately dishonoring its agreement.

    3              Nor is it plausible to believe, as the Complaint alleges, that RBC violated its
    4 obligations under the DOJ consent decree without suffering any repercussions. The

    5 consent decree includes an enforcement provision that allows the DOJ “at any time” until

    6 the year 2021 to apply to the U.S. District Court for the District of Columbia to enforce

    7 the consent decree or to punish any perceived violations.7 The consent decree also has

    8   detailed provisions that give the DOJ the right to investigate any potential non-
    9   compliance by inspecting RBC’s offices, by requesting business documents from RBC,
  10    by interviewing RBC personnel, or by serving interrogatories that RBC would have to
  11    answer under oath. [See RJN, Lockerby Decl., ¶ 4, Ex. C at 17-18.] Moreover, a few
  12    short months before entry of the consent decree, the DOJ issued its Policy Guide to
  13    Merger Remedies, stating: “If the Division concludes that a consent decree has been
  14    violated, it will institute an enforcement action.” U.S. Dep’t of Justice, Antitrust Division
  15    Policy Guide to Merger Remedies (June 2011), at 34; see also id. at 35 & nn.65-66
  16    (listing examples of contempt and other proceedings the DOJ has brought in the past to
  17
        enforce merger decrees). In view of the DOJ’s ability to investigate RBC’s compliance
  18
        with the consent decree and seek punishment for any failure by RBC to live up to its
  19
        obligations, Plaintiffs’ allegation that RBC did anything less than what it was required to
  20
        do is highly implausible.
  21
                   Compounding this problem for Plaintiffs is a conspicuous admission: their entire
  22
        claim against RBC is based on hearsay from SNTech in response to Plaintiffs’ own
  23
        complaints. [See Compl. ¶ 58 (“Whenever LE would complain to SNTech regarding its
  24

  25
                   7
  26         [See RJN, Lockerby Decl., ¶ 4, Ex. C at 20 (“This Court retains jurisdiction to
     enable any party to this Final Judgment to apply to this Court at any time for further
  27 orders and directions as may be necessary or appropriate to carry out or construe this

  28 Final Judgment, to modify any of its provisions, to enforce compliance, and to punish
     violations of its provisions.”).]
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    1   inability to deliver operational electric motors for spa pumps, SNTech would reply that
    2   the source of the problems was RBC.”).]
    3              Because Plaintiffs’ Complaint does not state a plausible claim for relief, RBC
    4   should not be compelled to undertake expensive discovery based on nothing more than an
    5 alleged comment by a now-defunct competitor of RBC’s. See Dichter-Mad Family

    6 Partners, LLP v. United States, 707 F. Supp. 2d 1016, 1052 (C.D. Cal. 2010) (“the Rule 8

    7 pleading requirements prevent parties from filing complaints in order to conduct aimless

    8 fishing expeditions in the hope that some helpful evidence might possibly be

    9 uncovered.”). Plaintiffs are not the U.S. Department of Justice. This Court is under no

  10 obligation to allow “a plaintiff with a largely groundless claim . . . take up the time of a

  11 number of other people, with the right to do so representing an in terrorem increment of

  12 the settlement value.” Twombly, 550 U.S. at 558 (quotations and citations omitted).

  13 Plaintiffs’ Complaint is so implausible on its face that it should be dismissed.

  14               D.    Plaintiffs Are Not Direct Purchasers From RBC, So Their Claim
  15                     for Monetary Relief Under the Sherman Act Should Be Dismissed.
  16               It is well settled that only “direct purchasers”—those entities that directly purchase
  17    goods from an antitrust defendant—have standing to collect money damages in an
  18    antitrust case. See generally Delaware Valley Surgical v. Johnson & Johnson, 523 F.3d
  19    1116, 1120-21 (9th Cir. 2008) (“[O]nly direct purchasers have standing . . . to seek
  20    damages for antitrust violations.” (citing Illinois Brick Co. v. Illinois, 431 U.S. 720, 735,
  21    97 S. Ct. 2061, 52 L. Ed. 2d 707 (1977))). Under the Illinois Brick doctrine, indirect
  22    purchasers may bring antitrust claims for injunctive relief, but only direct purchasers
  23    have standing to seek monetary relief from a defendant. Lucas Auto. Eng’g, Inc. v.
  24    Bridgestone/Firestone, Inc., 140 F.3d 1228, 1235 (9th Cir. 1998).
  25               Here, Plaintiffs have not alleged that they purchased spa motors directly from
  26 RBC. To the contrary, the Complaint specifically alleges that one plaintiff, LMS,

  27 purchased RBC-manufactured spa motors from three other companies other than RBC to

  28 which the Complaint refers collectively as the “Alternate Vendors.” As for the other

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    1   plaintiff, LE, the Complaint makes no allegation that it has ever purchased any RBC-
    2 manufactured spa motors, whether sold by RBC or by anybody else. [See Compl. ¶¶ 8-

    3 9.]8 Absent any allegation that Plaintiffs ever directly purchased spa motors from RBC,

    4   Count One for violation of Section 2 of the Sherman Act should be dismissed insofar as
    5   Plaintiffs seek to collect either actual or treble damages from RBC.
    6              E.    Counts Three and Four Should Be Dismissed Because They Consist of
    7                    Conclusory Statements and Are Barred By the Competition Privilege.
    8              Even if they were not barred by the statute of limitations and subject to dismissal
    9   on other grounds, Counts Three and Four consist entirely of conclusory statements and
  10    threadbare recitations of the elements of the respective causes of action. Count Three
  11    alleges that RBC tortiously interfered with Plaintiffs’ prospective economic relationship
  12    with each other [Compl. ¶¶ 81-88], while Count Four alleges that RBC negligently
  13    interfered with Plaintiffs’ prospective economic relationship with each other [Compl. ¶¶
  14    89-96]. From the Complaint, it is entirely unclear what factual allegations—if any—on
  15    which these Counts are based. Accordingly, these Counts should be dismissed for failure
  16

  17               8
                Paragraph 8 of the Complaint alleges that SNTech’s failure “to deliver spa motors
  18    in sufficient quantities with acceptable quality” has caused “consumers of these electric
        motors, such as Plaintiffs Lloyd’s Material Supply Company, Inc. (‘LMS’) and Lloyd’s
  19    Equipment, Inc. (‘LE’) . . . to purchase electric motors manufactured and sold by RBC or
  20    third parties.” [Compl. ¶ 8] (emphasis added). Paragraph 8 does not allege that LMS
        purchased RBC-manufactured spa motors directly from RBC. Interpreting Paragraph 8
  21    as alleging that the “electric motors manufactured and sold by RBC” were purchased by
  22    LMS directly from RBC would contradict the specific allegations of Paragraph 9 of the
        Complaint. Paragraph 9 alleges that “SNTech’s failure to supply LE had the
  23    consequential effect of causing LE to be unable to deliver spa pumps to LMS. In turn,
  24    LMS was compelled to purchase pumps from (1) Waterway Plastics, Inc., (2) Gecko
        Alliance, Inc. and (3) Balboa Water Group (the ‘Alternate Vendors’), both [sic] of which
  25    use RBC motors.” [Compl. ¶ 9]. In view of this very specific allegation as to the sources
  26    from which LMS purchased RBC-manufactured spa motors, the only reasonable
        inference to draw from the Complaint is that Plaintiffs have not, in fact, purchased spa
  27    motors directly from RBC. See, e.g., Garrison v. Oracle Corp., 159 F. Supp. 3d 1044,
  28    1076 (N.D. Cal. 2016) (dismissing complaint where, among other things, “Plaintiffs’
        specific factual allegations contradict Plaintiffs’ general allegations”).
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    1   to state a meaningful claim. See Conder v. Home Savings of America, 680 F. Supp. 2d
    2   1168, 1172 (C.D. Cal. 2010).
    3              Moreover, to the extent that any meaning can be discerned from Counts Three and
    4   Four, they fail to state claims as a matter of law. RBC understands Count Three to
    5 essentially rehash Plaintiffs’ Counts One and Two to allege that RBC’s supposed failure

    6 to supply and support SNTech had the effect of tortiously interfering in Plaintiffs’ ability

    7 to run their businesses. To the extent this allegation says anything, Plaintiffs’ claim is

    8 barred by the so-called “competition privilege.” Under California law, companies have

    9 an absolute right to engage in bona fide competition with their business rivals without

  10 running into tort liability.

  11                     [I]t is no tort to beat a business rival to prospective customers.
  12                     Thus, in the absence of prohibition by statute, illegitimate
                         means, or some other unlawful element, a defendant seeking to
  13                     increase his own business may cut rates or prices, allow
  14                     discounts or rebates, enter into secret negotiations behind the
                         plaintiff’s back, refuse to deal with him or threaten to discharge
  15                     employees who do, or even refuse to deal with third parties
  16                     unless they cease dealing the plaintiff, all without incurring
                         liability.
  17

  18 UMG Recordings, Inc. v. Global Eagle Enter., Inc., 117 F. Supp. 3d 1092, 1116 (C.D.

  19 Cal. 2015) (quoting A-Mark Coin Co. v. General Mills, Inc., 148 Cal. App. 3d 312, 324

  20 (1983)); see also Della Penna v. Toyota Motor Sales, USA, Inc., 11 Cal. 4th 376, 392-93

  21 (1995) (“[A] plaintiff seeking to recover for alleged interference with prospective

  22 economic relations has the burden of pleading and proving that the defendant’s

  23 interference was wrongful by some measure beyond the fact of the interference itself.”)

  24 (quotation omitted). In other words, Plaintiffs’ theory that RBC had a tort-law duty to aid

  25 its competitors is precisely backwards. RBC’s duty under both state tort law and federal

  26 antitrust law is to compete with its competitors. Thus, where RBC has engaged in no

  27 unfair competition with SNTech or with Plaintiffs, there simply are no grounds for

  28 Plaintiffs’ tortious interference claim.

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    1              Similarly, Plaintiffs’ negligent interference claim is also flawed. A claim for
    2   negligent interference fails where a defendant owes the plaintiff no duty of care—a
    3   determination that is informed by, among other things, whether the defendant’s conduct
    4   was intended to harm or foreseeably could have harmed the plaintiffs. See generally
    5   Sierra Nat’l Ins. Holdings, Inc. v. Altus Fin., S.A., No. CV 01-01338 AHM (CWx), 2001
    6   U.S. Dist. LEXIS 22301, at *55 (C.D. Cal. June 20, 2001). Here, where Plaintiffs are
    7   merely former customers of a competitor of RBC’s, a claim for negligent interference
    8   with prospective economic relations must fail. See id. (dismissing negligent interference
    9   claim where the parties were “[n]ot only . . . competitors, but they also did not have any
  10    kind of dependence on the other’s conduct to carry on their own respective business”).
  11    As a matter of law, Counts Three and Four both should be dismissed.
  12
                   F.    If the Complaint Is Not Dismissed, the Case Should Be Transferred to
  13                     the Washington, D.C. District Court That Entered the Consent Decree.
  14               If the Court declines to dismiss the time-barred, implausible, and legally defective
  15    Complaint for lack of standing and failure to state a claim, then the Court should transfer
  16    this case to the court that entered the consent decree: the U.S. District Court for the
  17    District of Columbia. Where a “case requires any . . . interpretation or interference with
  18    [a] Consent Decree, the case should be transferred” to the court that originally issued the
  19    decree. Goulart v. United Airlines, Inc., No. C 94-1751 SC, 1994 U.S. Dist. LEXIS
  20    21856, at *8 (N.D. Cal. Sept. 28, 1994); see also id. at *10 (“Removal is proper where
  21 necessary to protect the integrity of the Consent Decree and where the issues raised

  22 cannot be separated from the relief provided by the Consent Decree.”) (quotation and

  23    alteration omitted).
  24               Here, the U.S. District Court for the District of Columbia has explicitly “retain[ed]
  25    jurisdiction to enable any party to this Final Judgment to apply to this Court at any time
  26    . . . to carry out or construe this Final Judgment, to modify any of its provisions, to
  27    enforce compliance, and to punish violations of its provisions.” [RJN, Lockerby Decl., ¶
  28    4, Ex. C at 20.] Accordingly, the U.S. District Court for the District of Columbia is the

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    1   proper forum for determining whether RBC in fact complied with the consent decree—a
    2   determination that will ultimately be required in this case if it is not dismissed. It would
    3   be a waste of judicial resources and it would run the risk of imposing inconsistent
    4   obligations on RBC to allow Plaintiffs to challenge RBC’s compliance with the consent
    5   decree in this Court, when another federal court has retained jurisdiction to make the
    6   exact same determination.
    7              The interests of comity, orderly administration of justice, and consistency of
    8   judgments all weigh in favor of transferring this case to the U.S. District Court for the
    9   District of Columbia, the court that originally issued RBC’s consent decree with the DOJ
  10    and still has jurisdiction to construe and enforce it. That court would be a proper venue
  11    for this case under 28 U.S.C. § 1391(b)(3) because it has personal jurisdiction over RBC.
  12    [See RJN, Lockerby Decl., ¶ 4, Ex. C at 2 (“This Court has jurisdiction over the subject
  13    matter of and each of the parties to this action.”).] Additionally, transfer to that court
  14    would further the interests of justice, and would not unduly inconvenience Plaintiffs
  15    when compared to the court’s interest in the orderly administration of justice. See
  16    generally Goulart, 1994 U.S. Dist. LEXIS 21856, at *14 (“Although the court finds that a
  17    transfer of this case to the Northern District of Illinois will inconvenience plaintiffs, the
  18    court does not believe that such inconvenience outweighs the interests of justice in
  19    transferring this case . . . .”). As another federal court facing a similar situation put it:
  20    “Plaintiffs chose to request relief inextricably intermingled with the provisions of the
  21    Consent Decree; they must thus request it from the proper court.” Id.
  22                                          V.     CONCLUSION
  23               Plaintiffs’ Complaint should be dismissed under Federal Rule of Civil Procedure
  24    12(b)(1) for lack of subject-matter jurisdiction and under Federal Rule of Civil Procedure
  25    12(b)(6) for failure to state a claim. Plaintiffs’ Complaint improperly seeks to enforce a
  26    government consent decree to which Plaintiffs were never a party; it is untimely; it is
  27    implausible; it improperly seeks damages on behalf of indirect purchasers; and it
  28    improperly seeks to impose tort liability on bona fide competitive conduct. For all of

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